          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        SHELBY DIVISION

                         CRIMINAL NO. 4:96CR53


UNITED STATES OF AMERICA                  )
                                          )
                                          )
                  VS.                     )            ORDER
                                          )
                                          )
CEDRIC HUSKEY                             )
                                          )


      THIS MATTER is before the Court on Defendant’s motion to file a

motion for reduction of sentence and supporting exhibits under seal.

      For the reasons stated in the motion and for cause shown,

      IT IS, THEREFORE, ORDERED that the Defendant’s motion is

ALLOWED, and the motion for reduction of sentence and supporting

exhibits shall be filed under seal and remain sealed until further order of

this Court.

                                      Signed: November 3, 2008




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